                Case 2:13-cv-00344-RJS Document 2 Filed 05/15/13 Page 1 of 7



SANDERS LAW, PLLC
Craig B. Sanders, Esq. (CS4163)
Utah Bar No. 14402
100 Garden City Plaza, Suite 500
Garden City, New York 11530
Telephone: (516) 203-7600
Facsimile: (516) 281-7601
csanders@sanderslawpllc.com
Attorneys for Plaintiff

                              UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH - CENTRAL DIVISION



BWP MEDIA USA INC.,                                       Docket No:

                          Plaintiff,                      DEMAND FOR JURY TRIAL

                                                          COMPLAINT FOR:

                            vs.                           COPYRIGHT INFRINGEMENT


BEST LITTLE SITES, LLC,


                          Defendant.


       BWP MEDIA USA INC., by and through its undersigned counsel, states and alleges as

follows:

                                           INTRODUCTION

           1.      Plaintiff BWP MEDIA USA INC. ("BWP”) provides entertainment-related

photojournalism goods and services. In particular, BWP owns the rights to a multitude of

photographs featuring celebrities, which it licenses to online and print publications.

           2.      BWP's portfolio of celebrity photographs is the bread and butter of its business.

           3.      BWP has obtained U.S. copyright registrations covering many of its photographs,

and others are the subject of pending copyright applications.

                                                    1 
 
             Case 2:13-cv-00344-RJS Document 2 Filed 05/15/13 Page 2 of 7



        4.      Defendant BEST LITTLE SITES, LLC ("BLS”) owns and operates a website

known as www.comicbookmovie.com.

        5.      Without permission or authorization from BWP, BLS copied, modified, and

displayed BWP’s photograph on BLS’s website, www.comicbookmovie.com.

        6.      BLS engaged in this misconduct knowingly and in violation of the United States

copyright laws.

        7.      BWP has been substantially harmed as a result of BLS's misconduct.



                                  JURISDICTION AND VENUE

        8.      This Court has subject matter jurisdiction over the federal copyright infringement

claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331. The Court has supplemental

jurisdiction over the claims arising under state law pursuant to 28 U.S.C. §1367(a) in that the

state claims are so related to the claims over which the court has original jurisdiction that they

form part of the same case or controversy.

        8.      This Court has personal jurisdiction over BLS because BLS maintains its

principal place of business in Utah County and purposely directs substantial activities at the

residents of Utah by means of the website described herein.

        9.      Venue is proper under 28 U.S.C. §1391(a)(2) because the Defendant does

business in this Judicial District or because a substantial part of the events or omissions giving

rise to the claim occurred in this Judicial District.




                                                   2 
 
              Case 2:13-cv-00344-RJS Document 2 Filed 05/15/13 Page 3 of 7



                                               PARTIES

           10.    BWP is a California corporation and maintains its principal place of business in

Los Angeles County, California.

           11.    On information and belief, BLS, a domestic limited liability company with a

principal place of business in Utah County, Utah, is liable and responsible to Plaintiff based on

the facts herein alleged.

                                  FACTUAL ALLEGATIONS

                                         BWP's Business

           12.    BWP provides entertainment-related photojournalism goods and services. In

particular, BWP owns the rights to a multitude of photographs which it licenses to online and

print publications.

           13.    BWP has invested significant time and money in building its photograph

portfolio.

                                          BWP’s Copyrights

            14.   BWP has obtained U.S. copyright registrations covering many of its photographs,

    and others are the subject of pending copyright applications.

            15.   BWP's photographs are original, creative works in which BWP owns protectable

    copyright interests.

            16.   BWP owns several active and valid copyright registrations with the United States

    Copyright Office (the "USCO"), which registrations cover BWP’s photographs.

            17.   BWP also has filed several copyright applications with the USCO, which are

    presently pending.




                                                   3 
 
               Case 2:13-cv-00344-RJS Document 2 Filed 05/15/13 Page 4 of 7



              18.   BWP applied for and received a copyright registration for a collection of

    photographs, USCO Copyright Registration No. VA 1-836-339 which included a photograph of

    actor Josh Hutcherson on the set of the sequel to the movie, The Hunger Games (the

    "Hutcherson Photograph").



                                          BLS’s Website

              19.   On information and belief, BLS is the registered owner of the website located at

    www.comicbookmovie.com (the "Website"). On information and belief, BLS operates the

    Website and is responsible for all Website content.

              20.   The Website provides articles, photographs and other content about television and

    movies.

              21.   The Website is monetized in that it contains paid advertisements. On information

    and belief, BLS profits from these activities.



                                          BLS’s Misconduct

              22.   Without permission or authorization from BWP, BLS copied, modified, and/or

    displayed BWP's photograph on the Website, in violation of BWP's copyright.

              23.   On information and belief, the Hutcherson Photograph was copied from the

    website(s) of BWP’s Clients and reposted on the Website without license or permission, thereby

    infringing on the Copyright (the “Infringement”).

              24.   On information and belief, BLS was aware of facts or circumstances from which

    the Infringement was apparent. Based on this totality of circumstances, BLS cannot claim that it




                                                     4 
 
              Case 2:13-cv-00344-RJS Document 2 Filed 05/15/13 Page 5 of 7



    is not aware of the widespread infringing activities, including the Infringement, on the Website.

    Such a claim would amount to willful blindness to the Infringement on the part of BLS.

             25.   On information and belief, BLS engaged in the Infringement knowingly and in

    violation of United States copyright laws.

             26.   On information and belief, BLS has received a financial benefit directly

    attributable to the Infringement. Specifically, by way of the Infringement, BLS increased traffic

    to its Website and, in turn, realized an increase in its advertising revenues and/or merchandise

    sales.

             27.   As a result of BLS’s misconduct, BWP has been substantially harmed.


                                                 FIRST COUNT

                              (Copyright Infringement, 17 U.S.C. § 501 et seq.)


             28.   BWP repeats and incorporates by reference the allegations contained in the

    preceding paragraphs, as though set forth in full herein.

             29.   The Hutcherson Photograph is an original, creative work in which BWP owns

    protectable copyright interests.

             30.   BWP has not licensed BLS or any of its users to use the Hutcherson Photograph

    in any manner, nor has BWP assigned any of its exclusive rights in the Copyright to BLS.

             31.   Without permission or authorization from BWP and in willful violation of BWP's

    rights under 17 U.S.C. §106, BLS reproduced the Hutcherson Photograph.

             32.   On information and belief, without permission or authorization from BWP and in

    willful violation of BWP’s rights under 17 U.S.C. § 106, BLS displayed the Hutcherson

    Photograph on the Website.


                                                    5 
 
                  Case 2:13-cv-00344-RJS Document 2 Filed 05/15/13 Page 6 of 7



              33.    BLS's reproduction of the Hutcherson Photograph and display of the Hutcherson

    Photograph on the Website constitutes copyright infringement.

              34.    On information and belief, thousands of people have viewed the unlawful copy of

    the Hutcherson Photograph on the Website.

              35.    On information and belief, BLS had knowledge of the copyright infringement

    alleged herein and had the ability to stop the reproduction and display of BWP’s copyrighted

    material.

              36.    BLS's copyright infringement has damaged BWP in an amount to be proven at

    trial.


                                         PRAYER FOR RELIEF

             WHEREFORE, BWP respectfully requests judgment as follows:

             1.      That the Court enter a judgment finding that BLS has infringed on BWP's

Copyright in the Hutcherson Photograph in violation of 17 U.S.C. § 501 et seq.;

             2.      That the Court award damages and monetary relief as follows:

                     a.     Statutory damages against BLS pursuant to 17 U.S.C. § 504(c) of

                            $150,000 per infringement or in the alternative BWP's actual damages and

                            BLS's wrongful profits in an amount to be proven at trial;

                     b.     BWP's attorneys' fees pursuant to 17 U.S.C. § 505;

                     c.     BWP’s costs; and

             3.      Such other relief that the Court determines is just and proper.




                                                       6 
 
        Case 2:13-cv-00344-RJS Document 2 Filed 05/15/13 Page 7 of 7



DATED: May 15, 2013

                                            SANDERS LAW, PLLC


                                            /S/ Craig B. Sanders
                                            Craig B. Sanders, Esq. (CS4163)
                                            Utah Bar No. 14402

                                            100 Garden City Plaza, Suite 500
                                            Garden City, New York 11530
                                            Telephone: (516) 203-7600
                                            Facsimile: (516) 281-7601
                                            csanders@sanderslawpllc.com
                                            Attorneys for Plaintiff




                              REQUEST FOR JURY TRIAL

     Plaintiff hereby demands a trial of this action by jury.

DATED: May 15, 2013

                                            SANDERS LAW, PLLC


                                            /S/ Craig B. Sanders
                                            Craig B. Sanders, Esq. (CS4163)
                                            Utah Bar No. 14402

                                            100 Garden City Plaza, Suite 500
                                            Garden City, New York 11530
                                            Telephone: (516) 203-7600
                                            Facsimile: (516) 281-7601
                                            csanders@sanderslawpllc.com
                                            Attorneys for Plaintiff




                                               7 
 
